            Case 2:15-cr-00175-RSL        Document 44      Filed 07/06/15    Page 1 of 3




 1
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     UNITED STATES OF AMERICA,              )                No. CR15-00175RSL
 8                                          )
                           Plaintiff,       )
 9              v.                          )                ORDER DENYING DEFENDANT
                                            )                MARYSA COMER’S MOTION FOR
10   MARYSA R. COMER,                       )                REVOCATION OF DETENTION
                                            )                ORDER
11                         Defendant.       )
     _______________________________________)
12
13                 This matter comes before the Court on “Motion for Revocation of Detention Order
14   by Marysa Renee Comer.” Dkt. #31. The Honorable Brian A. Tsuchida, United States
15   Magistrate Judge, considered whether defendant should be detained pending her trial, finding
16   that continued detention is appropriate.
17                 On July 2, 2015, the Court heard oral argument on defendant’s motion for
18   revocation of the Magistrate Judge’s detention order. In ascertaining whether to detain or
19   release a defendant, the Court must consider (1) the nature and seriousness of the offenses
20   charged, (2) the weight of the evidence against the defendant, (3) the defendant’s character,
21   physical and mental condition, family and community ties, past conduct, history relating to drug
22   or alcohol abuse, and criminal history, and (4) the nature and seriousness of the danger to any
23   person or the community that would be posed by the defendant’s release. 18 U.S.C. § 3142(g).
24   The weight of the evidence against defendant is the least important of these factors, and the
25   Court may not engage in a pretrial determination of guilt or innocence. United States v.
26
     ORDER DENYING MOTION FOR
     REVOCATION OF DETENTION ORDER
            Case 2:15-cr-00175-RSL         Document 44       Filed 07/06/15     Page 2 of 3




 1   Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985).
 2                  This Court must conduct a de novo review of the Magistrate Judge’s detention
 3   order. Having reviewed the parties’ briefs on this matter, and the record that was before Judge
 4   Tsuchida, the Court finds as follows:
 5                  (1) Many of the charges against defendant are of a very serious nature. The
 6   Indictment charges defendant with conspiracy offenses alleging, among other things, that
 7   defendant acted in concert “to recruit, entice, harbor, transport, provide, and obtain by any
 8   means, an adult female ... to engage in commercial sex acts” (Dkt. #21) and alleges that
 9   defendant took part in the transportation of these recruits across state lines to engage in
10   prostitution. Defendant is facing charges that carry a mandatory minimum sentence of fifteens
11   years imprisonment. The nature and seriousness of the offenses charged therefore caution
12   against pre-trial release.
13                  (2) Defendant has proffered evidence regarding her ties to the community in
14   Matthews, North Carolina. While defendant may not have ties to the Western District of
15   Washington, the Ninth Circuit Court of Appeals determined that “community” in § 3142(g)
16   encapsulates “a community in the United States to which the defendant has ties.” United States
17   v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990). The support of and connection to this
18   community weigh in defendant’s favor.
19                  In response, the Government demonstrated by a preponderance of the evidence
20   that defendant is, in fact, a flight risk. Defendant is alleged to have lied to authorities about her
21   whereabouts when notified of the existence of a warrant for her arrest. Further, in a letter
22   written to her co-defendant, defendant wrote “I even seriously considered making a break for
23   your unit ... [a]ll I had to do was wait for your guard to go back into your unit and I could’ve run
24   right past him ...” (Dkt. #37-1). This undisputed evidence further underlines a tendency toward
25   flight in violation of FDC rules and regulations. The number of crimes with which defendant is
26
     ORDER DENYING MOTION FOR
     REVOCATION OF DETENTION ORDER                     -2-
            Case 2:15-cr-00175-RSL         Document 44        Filed 07/06/15     Page 3 of 3




 1   charged, continued demonstration of non-compliance and defendant’s potential sentence under
 2   the federal guidelines all indicate that defendant’s potential for flight is great.
 3                 (3) The Government has alleged that defendant would pose a risk to particular
 4   persons if she were released from detention. In particular, the Government alleges that
 5   defendant engaged in witness intimidation and tampering through the use of social media.
 6   Defendant’s letter to her co-defendant relays a violent attack perpetrated by defendant upon a
 7   fellow inmate, in violation of FDC rules and regulations. This behavior underscores a pattern of
 8   continued disobedience. The Court cannot trust that defendant will comply with the terms of a
 9   pre-trial release. Regardless of the efforts of her parents in acting as third-party custodians, the
10   ready availability of access to the internet and social media poses a significant concern that the
11   defendant may continue to act in violation of the prescribed terms of her release. The Court thus
12   finds that the defendant would pose a risk of danger or fear to particular persons or the
13   community were she to be released.
14                 For all of the foregoing reasons and based on its de novo review of the record, the
15   Court finds that there is clear and convincing evidence that no condition or combination of
16   conditions of release can reasonably assure defendant’s appearance at trial or the safety of the
17   community. Defendant’s motion for revocation of the detention order (Dkt. #31) is, therefore,
18   DENIED.
19
20
21                 DATED this 7th day of July 2015.
22
23
24
                                                 A
                                                 Robert S. Lasnik
                                                 United States District Judge
25
26
     ORDER DENYING MOTION FOR
     REVOCATION OF DETENTION ORDER                     -3-
